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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

Case No.: 17-50259
RS No.: MSK-l 6664

In re:

Truong Duy Ngo, aka Truong D. Ngo, aka
Kevin Ngo, Chapter: 13

Debtors. STlPULATION FOR ADEQUATE

. PROTECTION RE MOTION FOR
RELIEF FROM 'I'HE AUTOMATIC
STAY

E.¢Ar_i_ng;
Date: August 17, 2017

Time: 10:00 a.m.

Place: Courtroom 3020
U.S. Bankruptcy Court
280 South First Street
San Jose, CA 951 13

 

 

 

It is hereby ordered by and between Movant, Bank of America, N.A., and Truong Duy
Ngo (“Debtor”), as follows:
l. IT IS HEREBY STIPULATED that the automatic stay as it affects Movant’s

interest in the real property generally described as 2778 Scottsdale Drive, San Jose,
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CA 95148 (“Property”) shall remain in effect, unless otherwise extinguished by operation of
law, provided Debtors comply with all of the provisions set forth below.

2. IT IS FURTHER STIPULATED that Debtor shall maintain regular monthly
payments on Movant’s first deed of trust obligation, in a timely fashion, beginning with the
September 1, 2017 payment, and continuing thereafter on the first (lst) day of each month.
Payments are due on the first (lst) day of each month and are delinquent after the fifteenth
(l$th) day of each month. The amount of these payments may be subject to change under the
terms of the parties’ original agreements All payments due to Movant hereunder shall be paid
to Movant at the following address:

Shellpoint Mortgage Servicing
PO Box 740039
Cincinnati, OH 45274-0039
3. IT IS FURTHER STIPULATED that Debtors shall cure the post-petition default

computed through August l, 2017 as follows:

 

6 payment @ $2,592.47 (03/01/17 - 08/01/17) $l5,554.82
Attomey’s Fees and Costs $ l ,03 l .OO
Suspense Account ($373.23)
Post~Petition delinquency $16,212.59

4. IT IS FURTHER STIPULATED In addition to the regular monthly post-petition
payments, Debtors shall tender a lump sum payment of $6,761.00 on or before August 30,
2017.' 'I`he remaining balance of $9,45 1.59 shall be cured by eleven ( l l) monthly installments
of $787.63 each and one monthly installment of $787.66 commencing September 15, 2017 and
continuing thereafter through and including August 15, 2018.

IT IS FURTHER STIPULATED that in the event Debtor fails to timely or
properly comply with the payment provisions set forth in paragraphs 2, 3 or 4 hereinabove,

Movant may serve a written Notice of Def`ault on Debtors via first class mail and on Debtors
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counsel via first class mail and facsimile. Debtors shall then have ten (lO) days from the date of
service of the Notice of Default within which to cure the existing breach. lfDebtor fails to do
so, then on the eleventh ( l lth) day, Movant may serve and lodge a Declaration Re: Non~Cure
of Default, along with a final Order for Relief from the Automatic Stay. Upon the entry of said
Order, the automatic stay in the above-entitled bankruptcy proceeding shall be immediately
vacated and extinguished for all purposes as to Movant, and Movant may proceed with a
foreclosure sale of the Property, pursuant to applicable state law, without further court order or
proceeding, and thereafter take any action necessary to obtain complete possession of the
Property.

5. IT IS FURTHER STIPULATED that if the loan secured by Movant’s first deed of
trust obligation is non-escrowed, then Debtors shall maintain property taxes and current hazard
insurance for the Property, and provide proof of said insurance to Movant on a timely basis.

6. I'I` IS FURTHER STIPULATED that the acceptance by Movant of a late or partial
payment(s) shall not act as a waiver of Movant’s right to proceed hereunder.

7. IT IS FURTHER STIPULATED that the 14-day stay set forth in Federal Rule of
Bankruptcy Procedure 4001(a)(3) is hereby waived for the purposes of both this Order and
Order prospectively contemplated in paragraph 5 above.

8. IT IS FURTHER STIPULATED that the foregoing terms and conditions shall
only be binding during the pendency of this bankruptcy case. If, at any time, the stay is
terminated with respect to the Property by court order or by operation of law, the foregoing
terms and conditions shall cease to be binding and Movant may proceed to enforce its remedies
under applicable non-bankruptcy law against the Property and/or against Debtors.

9. IT IS FURTHER STIPULATED that Movant shall be permitted to offer and

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l provide Debtors with information regarding a potential Forbearance Agreement, Loan

2 Modification, Refinance Agreement, or other Loan Workout/Loss Mitigation Agreement, and to

3 enter into such agreement with Debtor.

4 10. IT IS FURTHER STIPULATED Based on the foregoing the hearing on

5 Movant’s Motion for Relief from the Automatic Stay scheduled for March 16, 2016 at 9:30

6 a.m. shall be taken off calendar.

7 lT IS SO STIPULATED:

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Dated:August L§ ,2017
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Zieve, Brodnax & Steele, LLP

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ErinM. McCa ey, Esq.
Attomey for vant_.

Bank of America, N.A.

LW( /e’sa ThuH ng Nguyen

,esa“Th'u'Fluong Nguyen, Esq.
Attrorney for Debtor
Truongr Duy Ngo

**END OF ORDER**

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